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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

NICK VINCENT FLOR,

                      Plaintiff,

v.                                                          Cause No. 1:20-cv-00027-JAP-LF

THE UNIVERSITY OF NEW MEXICO,
a public university, CAMILLE CAREY,
individually and in her official capacity,
ANGELA CATENA, individually and
un her official capacity, SARA M.
CLIFFE, individually and in her official
capacity, and EVA CHAVEZ,

                      Defendants.


         DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
      RESPOND TO PLAINTIFF NICK FLOR’S FIRST SET OF REQUESTS FOR
                             PRODUCTION

       Defendant the University of New Mexico (“UNM”), by and through its attorneys, Conklin,

Woodcock & Ziegler, P.C. (Alisa Wigley-DeLara), moves this Court for an Order for an extension

of time to serve responses to Plaintiff Nick Flor’s First Set of Requests for Production served on

July 15, 2020.

       1. On July 15, 2020 Plaintiff’s served their First Set of Requests for Production to

Defendant University of New Mexico. See Certificate of Service (Doc. 59) 1.

       2. Responses to these discovery requests is currently due August 14, 2020.

       3. Because the Plaintiff has been permitted to file an amendment of his pleading in the

Memorandum Opinion and Order granting Defendants’ Motion to Dismiss (Doc. 64) , and Plaintiff




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 The Certificate of Service indicates that Plaintiff served Interrogatories to Defendant. Counsel
has confirmed that only Requests for Production were served on July 15, 2020.
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has confirmed his intent to file such an amendment, Defendant seeks an extension to respond to

the served discovery requests to September 14, 2020.

       4. Plaintiff, through counsel Nicholas T. Hart, does not oppose this motion.

       WHEREFORE, Defendant respectfully requests this Court to grant the Motion for

Extension of time to Respond to Plaintiff Nick Flor’s First Set of Requests for Production, and for

such other and further relief as the Court deems just and proper.

                                             Respectfully submitted,


                                             CONKLIN, WOODCOCK & ZIEGLER, P.C.
                                             By: /s/ Alisa Wigley-DeLara
                                                    Alisa Wigley-DeLara
                                                    320 Gold Ave., Suite 800
                                                    Albuquerque NM 87102
                                                    Telephone: (505) 224-9160
                                                    Attorney for Defendant


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was e-filed

and served via email upon counsel of record on this 18th day of August, 2020.



/s/ Alisa Wigley-DeLara
Alisa Wigley-DeLara




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